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 1                                                                            Judge Coughenour
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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10   UNITED STATES OF AMERICA,              )
                                            )                 NO. CR02-374C
11                    Plaintiff,            )
                                            )
12              v.                          )
                                            )                 ORDER CONTINUING TRIAL
13   MAXIMILIANO VIDAL-MEDINA,              )
                                            )
14                    Defendant.            )
     _______________________________________)
15

16          THIS MATTER comes before the Court on a motion by the United States to
17   continue the trial date. Having considered the entirety of the record and files herein, the
18   Court finds that failure to grant a continuance would likely result in a miscarriage of
19   justice. The case is very complex. There were originally 23 defendants, all charged in
20   the conspiracy count with the defendant. The evidence includes over 1,000 intercepted
21   telephone conversations, all in Spanish, 17 residential search warrants, and many video
22   and audio tapes. The case is three years old, and many of the witnesses now live out of
23   state, including the lead case agent.
24          It is unreasonable to expect adequate preparation for trial before the current trial
25   date of July 26, 2004. The Court further finds that the interests of the public and the
26   defendants in a speedy trial in this case are outweighed by the ends of justice.
27          IT IS NOW, THEREFORE, ORDERED that trial in this matter be continued to
28   October 17, 2005, and that the time between the date of this Order and the new trial date
     Order Continuing Trial
     and Motions/CR02-374C –1                                                      UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
                                                                                  SEATTLE, WASHINGTON 98101-1271
                                                                                           (206) 553-7970
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 1   be excludable time under the Speedy Trial Act pursuant to Title 18, United States Code,
 2   Sections 3161(h)(8)(A), 3161(h)(8)(B)(i),(ii) and (iv).
 3          IT IS FURTHER ORDERED that pre-trial motions shall be filed on or before
 4   September 8, 2005.
 5          Dated this _27th_ day of__July_, 2005




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                                               UNITED STATES DISTRICT JUDGE
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10   Presented by:
11
     s/Douglas B. Whalley
12   DOUGLAS B. WHALLEY
     Assistant United States Attorney
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     United States Attorney's Office
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     Order Continuing Trial
     and Motions/CR02-374C –2                                                  UNITED STATES ATTORNEY
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